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 8                       UNITED STATES BANKRUPTCY COURT
 9              SOUTHERN DISTRICT OF CALIFORNIA – SAN DIEGO
10
     In re                                        Case No. 18-06044-LT11
11
                                                  Chapter 11
12
     JESSE WAYNE DAWBER,                          [Jointly Administered with Case No. 19-
13                                                00293-LT11]
             Debtor-In-Possession.
14                                                OBJECTION TO HOGAN
                                                  LOVELLS’ MONTHLY FEE
15                                                STATEMENT #3 FOR THE PERIOD
                                                  FROM MAY 1, 2019 THROUGH
16   JESSE DAWBER, an individual                  MAY 31, 2019
17           Case No. 18-06044-LT11
18   CLASS WAR, INC., a California                Judge: Hon, Laura Taylor
19   corporation,                                 Dept.: 3, Room 129
20           Case No. 19-00293-LT11
21           Debtors.
22
     [X] Affects both Debtors.
23   [ ] Affects Class War, Inc. only.
     [ ] Affects Jesse Dawber only.
24

25

26           Creditor Jack Schindler (“Schindler”) hereby objects to the entirety of the
27   above-referenced Monthly Fee Statement, and contends Hogan Lovells is entitled to
28   receive no sum whatsoever, for the reasons explained below:
                                                 1
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 1                                                      I.
 2                                           INTRODUCTION
 3            On January 29, 2019, Debtor Jesse Dawber first filed an application for
 4   authority to employ Hogan Lovells US LLP as his special litigation/appellate
 5   counsel (the “Dawber Application”). [Dkt. 122.] Dawber told this Court the
 6   reason why Hogan Lovells was a great choice was because: “Hogan Lovells has
 7   represented the Debtor and Class War Inc. in the State Court Action since
 8   approximately May of 2017.” (See page 3, lines 21 – 23.)
 9            The Dawber Application was supported by the declarations of Jesse Dawber
10   and Michael Turrill. The Turrill Declaration (commencing at Dkt. 122, page 11)
11   attached as Exhibit 1, what Mr. Turrill described as “[A] true and correct copy of
12   the Engagement Letter by and between Hogan Lovells and the Debtor…” 1 At page
13   13 of the Dawber Application, the Turrill Declaration (in paragraph 10 at lines 7 –
14   9) says:
15             Hogan Lovells currently is holding approximately $65,000 in its client
16
               trust account that it received from Class War on or about September
               28, 2018 with respect to its representation of the Debtor and Class
17             War.
18            September 28, 2018 was, of course, three days after the State Court Verdict,
19   and the Dawber Application fails to mention that this “retainer,” now depleted by
20   $85,000, was originally in the sum of $150,000.2 The Dawber Application also
21   omits to mention that Hogan Lovells received $184,841.70 for its services the
22   previous day (i.e., September 27, 2018), taking the amount paid to Hogan Lovells
23   post-verdict but pre-Dawber Petition (which was filed October 8, 2018) to an
24   extraordinary sum just shy of $335,000.
25            Despite receiving this third of a million dollars just a few days after the State
26   Court Verdict (never mind the previous hundreds of thousand dollars paid to Hogan
27

28   1
         This is untrue; see post.
     2
         As explained below, the assertion this was an agreed “retainer” is also untrue.
                                                        2
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 1   Lovells), Mr. Turrill declared that:
 2         … Hogan Lovells may hold a pre-petition claim against the Debtor for
 3
           legal services and expenses incurred in its representation of the Debtor
           in the State Court Action… (Dkt. 122, page 14 paragraph 14, lines 7 –
 4         9.)
 5   Mr. Dawber “may” owe Hogan Lovells more money? They received a specific
 6   payment of $184,841.70 two days after the Verdict then, the next day, another
 7   $150,000?     Typically, lawyers pay their bills current before getting a retainer
 8   against future services. Wouldn’t an international law firm know by the end of
 9   January, 2019, how much it was owed, if anything, for services rendered more than
10   four months earlier? As explained below, Hogan Lovells was hedging its bet in
11   case someone spotted the fact it never had any legal services agreement with Mr.
12   Dawber.
13         On February 25, 2019, Class War filed its application to employ Hogan
14   Lovells (the “Class War Application”). [Dkt. 150.] Class War’s Application was
15   supported by a declaration from Jeremy Rosenthal and, again, Michael Turrill. The
16   Application represents that “… Hogan Lovells is currently representing Mr.
17   Dawber…” (See page 9, lines 14 – 15; emphasis added.) Dawber, however, had
18   been a Debtor in bankruptcy since October 8, 2018, and this Court did not even
19   hear any Application to employ Hogan Lovells until March 28, 2019. The Turrill
20   Declaration again makes the following inaccurate representation with respect to
21   Exhibit 1 (the same Exhibit 1 appended to Mr. Turrill’s declaration supporting the
22   Dawber Application):
23         A true and correct copy of the Firm’s pre-bankruptcy Engagement
           Letter by and between Hogan Lovells, Mr. Dawber and Class War is
24
           attached… as Exhibit 1… (Dkt. 150, page 15, paragraph 3; emphasis
25         added.)
26         This time, the Turrill Declaration discloses that his firm’s “retainer”       was
27   indeed $150,000 “…with respect to its representation of the Debtor and Class
28   War,” and that it paid itself $58,400.81 out of this money for an invoice dated
                                               3
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 1   November 16, 2018, and $24,743.09 on a bill dated January 15, 2019. [Dkt. 150,
 2   page 18, paragraph 11.] One cannot help but wonder how Hogan Lovells generated
 3   over $83,000 in fees/costs during the time the State Court Litigation was stayed but,
 4   as discussed below, there is indeed evidence it performed services during this
 5   period of time – in connection with backdating a purported resignation letter signed
 6   by Matt Roberts. (See Exhibit 9 to Vaughn Declaration in Support of Objections to
 7   Fee Statements [Dkt. 340], pages 70 – 71; Vaughn Declaration, paragraphs 17 and
 8   18.)
 9          Finally, the Turrill Declaration supporting Class War’s Application indicated
10   that, in performing a conflict check, the following names were never checked for
11   conflicts: (1) Drew Madacsi, (2) Jeslyn Leong, (3) Matt Roberts, (4) STFU, (5)
12   Faction, (6) Lighthouse Strategic Group, (7) MMP Resources, (8) Alliance Brands
13   Limited, or (9) the House of Machines. (See Dkt. 150, page 19, paragraph 14.) If
14   Hogan Lovells represented one or more of these individuals or entities, a potential
15   conflict of interest – or an actual conflict – might very well exist. Indeed, a number
16   of these individuals/entities have filed claims against one or more of the Estates
17   and, in fact, Class War and Dawber have each filed a Proof of Claim in the other’s
18   bankruptcy case.      The Turrill Declaration concludes in paragraph 16 with the
19   assertion that “… Hogan Lovells has no… prior connection with… any creditors of
20   the Debtor or “his” Estate, or any other party in interest in this case…” Drew
21   Madacsi, however, testified in his 2004 examination that Hogan Lovells worked
22   with him on a real estate transaction in Los Angeles, and that pre-existing
23   relationship led him to bring them into the State Court Case.3
24          On February 28, 2019, Debtor Dawber filed an amended application to
25   employ Hogan Lovells (the “Amended Application”). [Dkt. 157.] The Amended
26   Application reiterated that “A true and correct copy of the pre-bankruptcy
27

28   3
       Again, Schindler’s counsel was present at the Madacsi 2004 examination, but does not have a
     copy of the transcript thereof.
                                                     4
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 1   Engagement Letter, executed on May 14, 2017, by Hogan Lovells and the Debtor,
 2   is attached to the Turrill Declaration as Exhibit “1.” (See page 5, lines 3 – 5.)
 3         On March 28, 2019, this Court heard the joint Applications to employ Hogan
 4   Lovells and, on April 4, 2019, entered its Order permitting such employment on
 5   terms specified therein. [Dkt. 214.]
 6                                             II.
 7       HOGAN LOVELLS’ SERVICES DO NOT MEET THE STANDARDS
 8                       REQUIRED BY 11 U.S.C. SECTION 330
 9         In In re Knudsen Corp. 84 BR 668 (B.A.P. 9th Cir. 1988), the Bankruptcy
10   Appellate Panel of the Ninth U.S. Circuit Court of Appeals held that it was
11   permissible for a Bankruptcy Court to authorize (non-final) fee payment to
12   professionals on a summary application procedure, allowing them to receive
13   compensation each month without prior court approval. This Court’s Order in the
14   instant matter [Dkt. 243] was entered in accord with this authority.
15         As the Court determined on Friday, July 19, 2019, however, fraudulent
16   conduct by the Debtors required an immediate suspension of these Knudsen Orders.
17   On July 22, 2019, a formal order suspending the procedure whereby Hogan Lovells
18   could pay itself without prior court approval was signed, and entered the next day.
19   [Dkt. 339.] Thus, any authority under which Hogan Lovells would be allowed to
20   follow the summary monthly application procedure has vanished and, for this
21   reason alone, payment of the fees claimed by this applicant for the month of May,
22   2019, should be denied.       Moreover, at the same hearing, this Court ordered
23   appointment of a Trustee in the Dawber Estate. As a result of the Chapter 11
24   Trustee’s appointment, counsel to the former DIP lost the right to be compensated by
25   the estate. Lamie v. United States Trustee (2004) 540 U.S. 526, 534-535. While still
26   technically representing Class War, the Trustee herein will have authority to determine
27   whether or not that engagement should continue.
28         For numerous reasons, some of which are explained herein, Schindler
                                                5
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 1   respectfully submits that Hogan Lovells should not be permitted to continue in that
 2   role either. In any event, the recent revelations to this Court by its Examiner reveal
 3   that Hogan Lovells’ services do not satisfy the requirements of 11 U.S.C. section
 4   330 and, therefore, no further compensation should be payable to this professional.4
 5          Specifically, 11 U.S.C. section 330 provides, in pertinent part:
 6

 7
            (a)(3) in determining the amount of reasonable compensation to be
            awarded to [a] … professional persons, the court shall consider the
 8          nature, the extent, and the value of such services, taking into
 9          account all relevant factors, including –

10          (A) the time spent on such services;
11          (B) the rates charged for such services;
12          (C) whether the services were necessary to the administration of,
            or beneficial at the time at which the service was rendered toward
13
            the completion of, a case under this title;
14
            (D) whether the services were performed within a reasonable
15          amount of time commensurate with the complexity, importance,
16          and nature of the problem, issue, or task addressed;

17          (E) with respect to a professional person, whether the person is
            board certified or otherwise has demonstrated skill and experience
18          in the bankruptcy field; and
19
            (F) whether the compensation is reasonable based on the
20          customary compensation charged by comparably skilled
            practitioners in cases other than cases under this title.
21

22          (4)(A) Except as provided in subparagraph (B), the court shall not
            allow compensation for—
23

24          (i) unnecessary duplication of services; or
            (ii) services that were not--
25
                    (I) reasonably likely to benefit the debtor’s estate; or
26                  (II) necessary to the administration of the case.
27
     4
        By this phraseology, Schindler by no means infers that Hogan Lovells should be entitled to
28   retain the fees it has already milked from the Debtors. In fact, at the appropriate time, it is
     respectfully submitted that disgorgement of its exorbitant fees will be appropriate.
                                                      6
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 1         In taking these factors into account, and in light of all other relevant
 2   considerations, Hogan Lovells is not entitled to the money it seeks in this instance,
 3   and frankly did not legitimately earn what it has already been paid.
 4         Specifically, as established by Exhibit 9 to the Vaughn Declaration filed on
 5   Tuesday, July 23, 2019 [Dkt. 243], it appears Hogan Lovells was involved in what
 6   may charitably be described as questionable conduct by backdating a resignation
 7   letter to give the false impression that the Chief Operating Officer of its client,
 8   Class War, had resigned earlier than the event actually occurred. What reason
 9   could there be for participating in – perhaps orchestrating – such conduct? The
10   most logical inference is that this was done to protect Matt Roberts from the claim
11   that, while an officer of Class War, he contemporaneously engaged in a business
12   (Faction) in direct competition with Class War, Hogan Lovells’ client. If this was
13   indeed what occurred, such behavior would be a patent breach of the firm’s
14   fiduciary duties to Class War, which would disqualify Hogan Lovells from
15   representing any party in this case and have numerous other consequences.
16         Second, and perhaps more importantly, the representations upon which all
17   three Applications to employ Hogan Lovells were based are false. As illustrated
18   above, each such Application represented that Exhibit 1 to the respective Turrill
19   declaration was a pre–petition Engagement Letter between Hogan Lovells and Jesse
20   Dawber (in addition to Class War). Review of the Engagement Letter, however,
21   reveals that Hogan Lovells never obtained a written engagement letter for
22   representation of Mr. Dawber, a violation of the Rules of Professional Conduct, as
23   the first page of Exhibit 1 actually recognizes. Specifically, the transmittal letter
24   which constitutes the first page of Exhibit 1 recites that:
25         We are pleased that Class War, Inc. (the “Company”) has engaged
26
           Hogan Lovells US LLP to represent the Company regarding its
           litigation with Jack Schindler and related matters…[and that the
27         Engagement Letter is] required by the applicable Rules of Professional
28
           Conduct. [Dkt. 150, page 21; emphasis added.]

                                                7
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 1   There is no question this letter does not constitute an engagement to represent Jesse
 2   Dawber as an individual, and the contrary assertion made to this Court by the
 3   Debtors and Hogan Lovells on multiple occasions is simply false in every instance.
 4   Indeed, on the second page of Exhibit 1, Mr. Dawber signs for Class War, Inc. as
 5   “OWNER.” Hogan Lovells cannot contend otherwise; its own Engagement Letter
 6   says, on the third page [Dkt. 122, page 18, Dkt. 150, page 23, paragraph 3] that:
 7         … [O]ur representation of a corporation… or other entity does not
 8         include a representation of the individuals or entities that are
           shareholders, officers, directors… of such entities or their interests in
 9         such entities. (Emphasis added.)
10   Thus, unless documents in this respect are undisclosed and there is some other
11   Engagement Letter, Hogan Lovells has never had an engagement agreement with
12   Jesse Dawber and, most likely, never obtained a conflict waiver or informed
13   consent to the multiple representation from him or, for that matter, Class War
14   either. It is respectfully submitted this is why the Applications obliquely mention
15   that Hogan Lovells “may” have a claim for prepetition fees – because they were
16   fully aware when filing these Applications that they had no Engagement Agreement
17   with Jesse Dawber and wanted to reserve the right to file a Proof of Claim seeking
18   recovery against his Estate based upon quantum meruit.
19         Finally, with respect to the $150,000 purported “retainer” paid to Hogan
20   Lovells three days after the State Court Verdict, this sum is approximately 4 times
21   the agreed amount. Unless there is a different Engagement Agreement with Class
22   War, or some Engagement Agreement with Jesse Dawber which provides otherwise
23   and was somehow not disclosed in connection with the three Applications, the only
24   retainer to which Class War contractually-agreed was $40,000, not $150,000. [Dkt.
25   122, page 19, Dkt. 150, page 24, paragraph 5.]
26         Thus, to the objective observer, it appears the $150,000 sum paid to Hogan
27   Lovells three days after the State Court Verdict was yet another pre-petition
28   mechanism to deplete the Debtors’ funds in order to avoid ever paying creditors,
                                               8
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 1   including Mr. Schindler. Participation in such conduct militates in favor of a ruling
 2   denying Hogan Lovells any further compensation and, at the appropriate time,
 3   compelling disgorgement of the substantial funds they have already received.
 4                                           III.
 5                                     CONCLUSION
 6         For all of these reasons, creditor Jack Schindler objects to the payment of any
 7   further compensation to Hogan Lovells, and prays that this Court require said firm
 8   to disclose all bills for which it has received compensation subsequent to the filing
 9   of the Dawber Chapter 11 Petition. Specifically, Hogan Lovells should be ordered
10   to produce its November 16, 2018 bill for $58,400.81 and January 15, 2019 invoice
11   for $24,743.09, both of which were paid out of the inflated $150,000 “retainer”
12   which (as verified by Mr. Turrill himself) this firm obtained a mere three days after
13   the State Court Verdict. Presumably, one or the other of these bills will disclose
14   exactly what Hogan Lovells did with respect to the Exhibit 9 backdated resignation
15   letter, the purpose thereof, and for whom they were really working at the time.
16                                                  Respectfully submitted,
17   Dated: July 26, 2019                           VAUGHN & VAUGHN
18

19                                        By:       /s/ DONALD A. VAUGHN
                                                    Attorneys for JACK SCHINDLER
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